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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

          MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA     )
                             )
    v.                       )                  CRIMINAL ACTION NO.
                             )                     2:13cr90-MHT
SHAWN A. JOHNSON,            )                        (WO)
BOBBIE JEAN CHILSOM,         )
SHARON JOHNSON,              )
SHIRLEY JOHNSON,             )
PRINTICE JOHNSON,            )
EDMOND LEWIS HARRIS, JR.,    )
DENNIS COLEMAN,              )
RICHARD JAMAR PINKSTON, JR., )
TELVIN BROWN,                )
SUNQUESHA GASTON,            )
PHILANTHIA ROBERTS,          )
SARA CHILSOM, and            )
SAMUELLA McMILLIAN           )

                                     ORDER

    It is ORDERED that the oral motion to continue, made by

defendant Printice Johnson on June 20, 2013, is denied as

moot.

    DONE, this the 20th day of June, 2013.


                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
